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         ORDERED in the Southern District of Florida on November 6, 2014.




                                                            Erik P. Kimball, Judge
                                                            United States Bankruptcy Court
_____________________________________________________________________________

                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                    WEST PALM BEACH DIVISION

        In re:                                             CASE NO.:11-42350-EPK

        Ronald D Eckland,                                  CHAPTER 7

               Debtor.
        _____________________________/

        Evangelina Forsberg,                               ADV. NO.: 12-01328-EPK

                 Plaintiff,

        v.

        Ronald D Eckland

               Defendant.
        _____________________________/

                                            FINAL JUDGMENT

                 THIS MATTER came before the Court for trial on June 23, 2014 upon the Complaint

        [ECF No. 1] filed by Evangelina Forsberg (the “Plaintiff”).

                 For the reasons stated on the record at the oral ruling on November 6, 2014, and

        pursuant to the provisions of Fed. R. Bankr. P. 7058, it is ORDERED AND ADJUDGED
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that:

        1.    Final Judgment is entered in favor of Ronald D. Eckland (the “Defendant”) on

Count I – Objection to Dischargeability of Debt under § 523(a)(2)(A) of the Complaint, and

all relief requested by the Plaintiff in Count I is DENIED.

        2.    Final Judgment is entered in favor of the Defendant on Count II – Objection

to Dischargeability of Debt under § 523(a)(4) of the Complaint, and all relief requested by

the Plaintiff in Count II is DENIED.

        3.    Final Judgment is entered in favor of the Plaintiff on Count III – Objection to

Dischargeability of Debt under § 523(a)(6). There shall be excepted from discharge in this

bankruptcy case pursuant to 11 U.S.C. § 523(a)(6) the total sum determined by the United

States District Court for the Northern District of Georgia, in the action styled Evangelina

Forsberg v. Ron Eckland, Civil Action No. 1:10-cv-357, as being payable to the Plaintiff as a

result of the Defendant’s failure to pay in full the $800,000 previously ordered by that

court, including without limitation all interest, fees and costs related thereto as awarded by

that court.

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Copies Furnished to:

All parties of record by the Clerk.




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